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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,
                                                       CASE NO.: 21-CR-129
        Plaintiff,
vs.

Gabriel Garcia,

        Defendant.
                                               /

      MOTION FOR PERMISSION TO TRAVEL TO THE DISTRICT OF COLUMBIA

        COMES NOW, the Defendant, Gabriel Garcia, and files his motion for permission to

travel to the District of Columbia and states the following grounds:

                                                   GROUNDS

            1. Mr. Garcia respectfully requests to travel to, and enter into, the District of

Columbia on February 28, 2023, to observe two J6 jury trials that are occurring this week: USA

v. Gossjankowski, 21-CR-123-PLF, and USA v. Tarrio, et al., 21-CR-175-TJK.

            2. Mr. Garcia would stay the night in the District. He would commute over from

Virginia or Maryland. He would not go anywhere else in the District other than the courthouse,

and to his former pro hac vice attorney’s law offices to confer about retaining him for trial. He

would fly back on March 4, 2023.

            3. Mr. Garcia will provide his pretrial officer all of the information

regarding his travel and lodging, as he did the previous times when he has traveled with this

Court’s permission.

            4. His pretrial services officer does not object to this request. The Government was

contacted for their position, and they have not responded yet.
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                                   MEMORANDUM OF LAW

        This Court can grant Mr. Garcia’s request under 18 U.S.C. § 3142. While his conditions

of release do prohibit him from coming to D.C., there is an exception for court and pretrial

business. Further, Mr. Garcia has no criminal history; the Government has not charged him with

committing a violent act on a law enforcement officer; and he is not accused of destroying any

property. Mr. Garcia only wishes to enter D.C. to go to the courthouse to observe the two named

trials and confer with his former pro hac vice counsel. Mr. Garcia submits observing both trials

will assist in trial preparation and his ultimate decision to go to trial or enter a change of plea.

This undersigned counsel will escort him at all times in the courthouse. He will not go anywhere

else, and he will leave the District by 5 p.m. In addition, this Court allowed him to travel to D.C.

to attend a trial this past June, which he did without incident.

        WHEREFORE, Mr. Garcia respectfully moves this District Court to allow him to travel

to the District of Columbia for the reasons stated above.

        Respectfully submitted,

        /s/Aubrey Webb
        Law Offices of Aubrey Webb
        55 Merrick Way, Suite 212
        Coral Gables, Florida 33134
        305-461-1116
        Email: aubrey@aqwattorney.com



                                  CERTIFICATE OF SERVICE
        I HEREBY CERTIFY that a true and correct copy of the foregoing was efiled to the
Office of the Clerk, United States District Court, District of Columbia,
333 Constitution Ave., N.W. Washington D.C. 20001, Room 1225 and to the Office of the
United States Attorney, 555 4th St N.W., Washington D.C. 20530, on February 27, 2023.

        /s/Aubrey Webb

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